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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-20195
         JEROME E BALL

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 06/10/2015.

         2) The plan was confirmed on 08/25/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 01/26/2016.

         6) Number of months from filing to last payment: 4.

         7) Number of months case was pending: 9.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                   $937.00
        Less amount refunded to debtor                               $0.00

NET RECEIPTS:                                                                                       $937.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $502.23
    Court Costs                                                              $0.00
    Trustee Expenses & Compensation                                         $35.43
    Other                                                                    $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                   $537.66

Attorney fees paid and disclosed by debtor:                   $115.00


Scheduled Creditors:
Creditor                                        Claim         Claim          Claim       Principal      Int.
Name                                  Class   Scheduled      Asserted       Allowed        Paid         Paid
Afni, Inc.                        Unsecured          64.00           NA            NA            0.00       0.00
AUTOMOTIVE CREDIT CORP            Secured        7,050.00     11,981.30         350.48        350.48      48.86
AUTOMOTIVE CREDIT CORP            Unsecured      4,985.00            NA            NA            0.00       0.00
CHICAGO PATROLMENS FEDERAL C      Unsecured      1,432.00       1,469.51      1,469.51           0.00       0.00
CHICAGO PATROLMENS FEDERAL C      Unsecured         500.00        474.34        474.34           0.00       0.00
CHICAGO PATROLMENS FEDERAL C      Unsecured      1,400.00            NA            NA            0.00       0.00
CITY OF CHICAGO DEPT OF REVENU    Unsecured      1,300.00       1,123.24      1,123.24           0.00       0.00
Credit Collection Inc             Unsecured          55.00           NA            NA            0.00       0.00
Credit Systems Intl In            Unsecured          66.00           NA            NA            0.00       0.00
ECMC                              Unsecured            NA       7,402.31      7,402.31           0.00       0.00
ER SOLUTIONS INC                  Unsecured         660.00           NA            NA            0.00       0.00
EXPRESS CASH MART OF ILLINOIS L   Unsecured            NA         200.00        200.00           0.00       0.00
HEIGHTS AUTO WORKERS CU           Unsecured         329.00        284.05        284.05           0.00       0.00
Hunter Warfield                   Unsecured         339.00           NA            NA            0.00       0.00
IL STATE DISBURSEMENT UNIT        Priority            0.00      1,821.14      1,821.14           0.00       0.00
ILLINOIS COLLECTION SVC           Unsecured         203.00           NA            NA            0.00       0.00
INTERGRITY SOLUTION SERVICES      Unsecured         401.00           NA            NA            0.00       0.00
INTERNAL REVENUE SERVICE          Priority          762.00      8,253.25      8,253.25           0.00       0.00
INTERNAL REVENUE SERVICE          Unsecured            NA         836.42        836.42           0.00       0.00
LIENENFORCE                       Unsecured      3,204.00            NA            NA            0.00       0.00
Military Star                     Unsecured           0.00           NA            NA            0.00       0.00
NOBLE FIN                         Unsecured           5.00           NA            NA            0.00       0.00
OPPORTUNITY FINANCIAL             Unsecured         900.00           NA            NA            0.00       0.00
OPPORTUNITY FINANCIAL LLC         Unsecured         974.00        958.85        958.85           0.00       0.00
PIONEER MCB                       Unsecured      1,555.00            NA            NA            0.00       0.00
USA DISCOUNTERS                   Unsecured         928.00           NA            NA            0.00       0.00
VENATTA MCCLAIN                   Unsecured      3,000.00       3,000.00      3,000.00           0.00       0.00
WEBBANK                           Unsecured           0.00           NA            NA            0.00       0.00
WESTERN TRUCK SALES               Unsecured     10,357.00            NA            NA            0.00       0.00
WORLD ACCEPTANCE CO               Unsecured         475.00      1,031.91      1,031.91           0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                              $350.48            $350.48             $48.86
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                             $350.48            $350.48             $48.86

 Priority Unsecured Payments:
        Domestic Support Arrearage                        $1,821.14                $0.00            $0.00
        Domestic Support Ongoing                              $0.00                $0.00            $0.00
        All Other Priority                                $8,253.25                $0.00            $0.00
 TOTAL PRIORITY:                                         $10,074.39                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                             $16,780.63                $0.00            $0.00


Disbursements:

         Expenses of Administration                               $537.66
         Disbursements to Creditors                               $399.34

TOTAL DISBURSEMENTS :                                                                          $937.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 03/01/2016                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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